              Case 2:11-cr-00295-MCE Document 152 Filed 03/08/12 Page 1 of 3


 1   Michael E. Hansen
     Attorney at Law, SBN 191737
 2   711 Ninth Street, Suite 100
     Sacramento, CA 95814
 3   916.438.7711 FAX 916.864.1359
 4   Attorney for Defendant
     SERGEY POTEPALOV
 5
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                           No. 2:11-CR-00295 MCE
11                                 Plaintiff,            AMENDED STIPULATION AND
                                                         ORDER TO CONTINUE STATUS
12          vs.                                          CONFERENCE, AND TO EXCLUDE
                                                         TIME PURSUANT TO THE SPEEDY
13   SERGEY POTEPALOV, et al.,                           TRIAL ACT
14                                 Defendants.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Daniel McConkie, Jr., Assistant United States Attorney, attorney for
18   plaintiff; Michael E. Hansen, attorney for defendant Sergey Potepalov; Hayes Gable, III,
19   attorney for defendant Keith O’Neil; Christopher Haydn-Myer, attorney for defendant Pavel
20   Berezenko; Robert Holley, attorney for defendant Anthony Rivera; Michael Long, attorney for
21   defendant Veranika Koushal; and Dina Santos, attorney for defendant Marlena Colvin, that the
22   previously-scheduled status conference date of March 8, 2012, be vacated and the matter set
23   for status conference on May 17, 2012, at 9:00 a.m.
24          This continuance is requested to allow counsel additional time to review discovery with
25   the defendants, to examine possible defenses and to continue investigating the facts of the case.
26          The Government concurs with this request.
27   ///
28   ///


                                                     1
     Amended Stipulation and Order to Continue Status Conference
              Case 2:11-cr-00295-MCE Document 152 Filed 03/08/12 Page 2 of 3


 1           Further, the parties agree and stipulate the ends of justice served by the granting of such
 2   a continuance outweigh the best interests of the public and the defendants in a speedy trial and
 3   that time within which the trial of this case must be commenced under the Speedy Trial Act
 4   should therefore be excluded under 18 U.S.C. sections 3161(h)(7)(B)(ii) and (iv),
 5   corresponding to Local Codes T2 [complex case] and T4 [reasonable time for defense counsel
 6   to prepare], from the date of the parties’ stipulation, March 6, 2012, to and including May 17,
 7   2012.
 8           Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 9           IT IS SO STIPULATED.
10   Dated: March 6, 2012                                  Respectfully submitted,
11                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
12                                                         Attorney for Defendant
                                                           SERGEY POTEPALOV
13
     Dated: March 6, 2012                                  /s/ Michael E. Hansen for
14                                                         HAYES GABLE, III
                                                           Attorney for Defendant
15                                                         KEITH O’NEIL
16   Dated: March 6, 2012                                  /s/ Michael E. Hansen for
                                                           CHRISTOPHER HAYDN-MYER
17                                                         Attorney for Defendant
                                                           PAVEL BEREZENKO
18
     Dated: March 6, 2012                                  /s/ Michael E. Hansen for
19                                                         ROBERT HOLLEY
                                                           Attorney for Defendant
20                                                         ANTHONY RIVERA
21   Dated: March 6, 2012                                  /s/ Michael E. Hansen for
                                                           MICHAEL LONG
22                                                         Attorney for Defendant
                                                           VERANIKA KOUSHAL
23
     Dated: March 6, 2012                                  /s/ Michael E. Hansen for
24                                                         DINA SANTOS
                                                           Attorney for Defendant
25                                                         MARLENA COLVIN
26   ///
27   ///
28   ///


                                                     2
     Amended Stipulation and Order to Continue Status Conference
               Case 2:11-cr-00295-MCE Document 152 Filed 03/08/12 Page 3 of 3


 1   Dated: March 6, 2012                                  BENJAMIN B. WAGNER
                                                           United States Attorney
 2
                                                           By: /s/ Michael E. Hansen for
 3                                                         DANIEL McCONKIE, JR.
                                                           Assistant U.S. Attorney
 4                                                         Attorney for Plaintiff
 5
 6                                               ORDER
 7           The Court, having received, read, and considered the stipulation of the parties, and
 8   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
 9   Based on the stipulation of the parties and the recitation of facts contained therein, the Court
10   finds that it is unreasonable to expect adequate preparation for pretrial proceedings and trial
11   itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
12   specifically finds that the failure to grant a continuance in this case would deny defense
13   counsel to this stipulation reasonable time necessary for effective preparation, taking into
14   account the exercise of due diligence. The Court finds that the ends of justice to be served by
15   granting the requested continuance outweigh the best interests of the public and the defendants
16   in a speedy trial.
17           The Court orders that the time from the date of the parties’ stipulation, March 6, 2012,
18   to and including May 17, 2012, shall be excluded from computation of time within which the
19   trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C.
20   sections 3161(h)(7)(B)(ii) and (iv), and Local Codes T2 [complex case] and T4 [reasonable
21   time for defense counsel to prepare]. It is further ordered that the March 8, 2012, status
22   conference shall be continued until May 17, 2012, at 9:00 a.m.
23           IT IS SO ORDERED.
24   Dated: March 8, 2012
25                                             __________________________________
26                                             MORRISON C. ENGLAND, JR
                                               UNITED STATES DISTRICT JUDGE
27
28   4d6b0d3


                                                     3
     Amended Stipulation and Order to Continue Status Conference
